 Fill in this information to identify the case:

 Debtor 1           Rudy   V Byron, Jr
                    __________________________________________________________________

 Debtor 2              Maritza  Y Byron
                       ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: Eastern District
                                         __________       of Wisconsin
                                                       District of __________

 Case number           15-21670-kmp
                       ___________________________________________




               l              410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                              U.S. BANK TRUST NATIONAL ASSOCIATION, AS
                   TRUSTEE OF THE BUNGALOW SERIES III TRUST
 Name of creditor: _______________________________________                                                       8
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          8 ____
                                                        ____ 0 ____
                                                                1 ____
                                                                    7                Must be at least 21 days after date       12/01/2019
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                              4,696.63
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:           Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                      931.88
                    Current escrow payment: $ _______________                      New escrow payment:                 1,122.22
                                                                                                               $ _______________


 Part 2:           Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:        _______________%                  New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:           Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                    Reason for change: ___________________________________________________________________________________

                    Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                         Notice of Mortgage Payment Change                                            page 1
                               Case 15-21670-kmp               Doc 122          Filed 11/06/19           Page 1 of 5
Debtor 1         Rudy   V Byron, Jr
                 _______________________________________________________                                            15-21670-kmp
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

           I am the creditor.

           I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 û/s/ Michelle R. Ghidotti-Gonsalves
     _____________________________________________________________
     Signature
                                                                                                Date    11/06/2019
                                                                                                        ___________________




 Print:             Michelle              R.       Ghidotti-Gonsalves
                    _________________________________________________________                   Title    Authorized Agent
                                                                                                        ___________________________
                    First Name                      Middle Name          Last Name



 Company            Ghidotti | Berger LLP
                    _________________________________________________________



 Address            1920  Old Tustin Avenue
                    _________________________________________________________
                    Number                 Street

                    Santa Ana                        CA     92705
                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      (949) 427-2010
                    ________________________                                                          mghidotti@ghidottiberger.com
                                                                                                Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
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                                                                   Redacted

                                   Redacted




NEW PAYMENT EFFECTIVE 12/01/2019                    $4,696.63




                 Redacted




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    __________   __________   __________   __________
         $0.00   $30,379.20        $0.00   $11,183.20




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           Case 15-21670-kmpCERTIFICATE OF SERVICE
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